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                        UNITED STATES DISTRICT COURT                         JS-6
                       CENTRAL DISTRICT OF CALIFORNIA

                            CIVIL MINUTES – GENERAL

 Case No: SA CV 21-00270-DOC (ADSx)                Date: November 10, 2021

 Title: William Larkins as Trustee for the Larkins Family Trust v Security Life of
 Denver Insurance Company,


 PRESENT: THE HONORABLE DAVID O. CARTER, JUDGE

              Deborah Lewman                              Not Present
              Courtroom Clerk                            Court Reporter

       ATTORNEYS PRESENT FOR                     ATTORNEYS PRESENT FOR
             PLAINTIFF:                               DEFENDANT:
            None Present                               None Present



       PROCEEDINGS (IN CHAMBERS): ORDER DISMISSING CIVIL
                                              CASE

        The Court, having been notified by counsel for the parties that this action
 has been settled re Notice of Settlement [31], hereby orders this action
 DISMISSED without prejudice. The Court hereby orders ALL proceedings in the
 case VACATED and taken off calendar. The Court retains jurisdiction for forty-
 five (45) days to vacate this order and reopen the action upon showing of good
 cause that the settlement has not been consummated.

       The Clerk shall serve this minute order on the parties.


  MINUTES FORM 11
  CIVIL-GEN                                                      Initials of Deputy Clerk: djl
